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                                                  July 26, 2023

      Hon. Jed S. Rakoff

               Re:      USVI v. JPMorgan Chase Bank, N.A.; Privilege Waiver Relating to Settlement
                        Discussions

      Dear Judge Rakoff:

              As this Court has already ruled, because JPMorgan seeks to hold Jes Staley liable for its
      $290 million settlement with the Jane Doe class, the bank must provide discovery regarding that
      settlement, including “documents relating to causation of the settlement (specifically, going to
      [JPMorgan’s] motive for settling).” July 7, 2023, minute entry. To date, however, the only
      materials JPMorgan has produced in response to the Court’s order are a limited number of
      communications concerning media coverage that say little, if anything, about the bank’s motives.
      It has produced nothing else. The bank contends that—notwithstanding the Court’s ruling that its
      “motive for settling” is properly subject to discovery—it has somehow not placed at issue its
      lawyers’ communications that necessarily informed that motive. This is a preposterous position;
      the bank cannot seriously be claiming it paid a nine-figure settlement for reasons unconnected to
      legal communications and analysis regarding its potential liability. Indeed, it is a near certainty
      that those communications are among the most critical documents that could be used to test the
      bank’s true motive for settling, which the bank has placed at issue. Accordingly, JPMorgan must
      be ordered to produce at least the 149 documents that it is presently withholding, as well as any
      other communications relating to the settlement that are currently being withheld by the bank on
      attorney-client privilege or work-product grounds.1

              It is black-letter law that a party waives privilege by making “factual assertions the truth
      of which can only be assessed by examination of [a] privileged communication.” PRCM Advisers
      LLC v. Two Harbors Inv. Corp., 2022 WL 18027566, at *6 (S.D.N.Y. Dec. 30, 2022); see also
      MBIA Ins. Corp. v. Patriarch Partners VIII, LLC, 2012 WL 2568972, at *6 (S.D.N.Y. July 3,
      2012) (“[W]aiver is justified ‘when a party uses an assertion of fact . . . while denying its adversary
      access to privileged material potentially capable of rebutting the assertion.’”); cf. United States v.
      1
        On July 14, 2023, the bank produced a privilege log listing 149 communications and documents
      that the bank withheld on the basis that they were “Attorney‐client privileged communication[s]
      seeking or providing legal advice related to JPMC settlement with Jane Doe 1 Class.” These
      entries include, among other things, notes, memos, and presentations created for JPMorgan’s board
      of directors, who presumably had the final approval power over whether to enter into the settlement
      agreement.
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Bilzerian, 926 F.2d 1285, 1293 (2d Cir. 1991) (“[C]ourts cannot sanction the use of the privilege
to prevent effective cross-examination on matters reasonably related to those introduced in direct
examination.”).

       Based on this principle, multiple courts have held, in language too clear to be susceptible
of misunderstanding, that:

                [B]y bringing an indemnification action, which of necessity injects the issue
                of the reasonableness of the settlement, plaintiff must be deemed to have
                waived whatever attorney-client or work-product privilege would otherwise
                attach to communications with their attorneys or adjusters relating to the
                bases for the settlement.

Scotstoun Shipping Co. v. Diplomatic Marine, Inc., 1980 WL 6688497 (S.D.N.Y. Jan. 21, 1980);
accord Cooper v. Meridian Yachts, Ltd., 2008 WL 2229552, at *10–11 (S.D. Fla. May 28, 2008)
(“[B]ecause Third-Party Plaintiffs must necessarily demonstrate the reasonableness of their
settlement with [plaintiff], they have waived claims of privilege with respect to the evidence
necessary to evaluate that issue.”); Union Pac. R.R. Co. v. Loram Maint. of Way, Inc., 2006 WL
8459287, at *4 (D. Utah Feb. 1, 2006) (“The nature of indemnity litigation makes prior work by
counsel very significant.”); Conoco Inc. v. Boh Bros. Const. Co., 191 F.R.D. 107, 117 (W.D. La.
1998) (plaintiff seeking indemnification “has put at issue the basis for its liability, its liability
analysis, and the reasonableness of the settlement,” and thus waived privilege); Safeway Stores,
Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, 1992 WL 486801, at *3 (N.D. Cal. Dec. 8, 1992)
(plaintiff seeking indemnity for settlement of derivative suit waived privilege as to documents
“which bear upon the allocation” of settlement costs between plaintiff and its directors).2

        Here, more than just the reasonableness of the settlement is at issue. Because the bank
played its own active role in the management of Jeffrey Epstein’s accounts—wholly separate and
apart from any actions by Mr. Staley—JPMorgan must also prove that Mr. Staley’s conduct
“caused” the potential liability that it decided to settle. See Dkt. 59 ¶ 65. As the Court has already
held, that puts directly at issue why JPMorgan thought it should settle with the Jane Doe class:
was it because of Mr. Staley, or was it because of the bank’s own actions (including failures in its
internal controls) and its concerns about continuing negative publicity and regulatory risk?
Without access to the bank’s communications with its counsel on this point, both Mr. Staley and
the factfinder would have to take the bank at its word as to its motive, which is “untenable” from
a fairness standpoint. See Scotstoun Shipping Co., 1980 WL 6688497. As one court has noted:

                It is not acceptable for [a party] to take the position “Trust us. The
                justifications we are putting forward here are why we settled.”


2
   See also DH Holdings Corp. v. Marconi Corp. PLC, 809 N.Y.S.2d 404, 407 (Sup. Ct. 2005)
(“[P]laintiffs cannot on the one hand seek indemnification for the settlement and costs, and on the
other hand refuse to produce the documentary record leading to such settlement”).
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In re Namenda Direct Purchaser Antitrust Litig., 2017 WL 2226591, at *5 (S.D.N.Y. May 19,
2017) (emphasis and citation omitted). In sum, JPMorgan cannot be permitted to argue to the
factfinder that it settled with the Jane Doe class because it believed that it faced liability due to Mr.
Staley’s conduct, while at the same time withholding documents that may contradict that argument.
See Scotstoun Shipping Co., 1980 WL 6688497 (communications with counsel relevant to
“whether the liability settled was proximately caused by the behavior of the [indemnitor]
defendants”).

        To avoid this outcome—and to carry its burden to assert privilege3—the bank has identified
several cases that, it contends, show that a party seeking damages based on a prior settlement does
not necessarily place at issue its otherwise-privileged communications. See Email of July 11, 2023
(citing AngioDynamics, Inc. v. Biolitec, Inc., 2010 WL 11541926, at *5 (N.D.N.Y. May 25, 2010);
Deutsche Bank Trust Co. of Americas v. Tri-Links Investment Trust, 43 A.D.3d 56, 64–66 (N.Y.
App. Div. 2007); AIU Insurance Co. v. TIG Insurance Co., 2008 WL 5062030, at *1 (S.D.N.Y.
Nov. 25, 2008); and Bovis Lend Lease, LMB, Inc. v. Seasons Contracting Corp., 2002 WL
31729693, at *16 (S.D.N.Y. Dec. 5, 2002)). None of these cases is helpful to the bank.

         Common to each of these cases (and critically different from the present case) is that in
each instance, there was no question of causation – the link between the underlying liability and
the indemnity defendant was already established by contract. See AngioDynamics, Inc., 2010 WL
11541926, at *1 (products distributor settled patent infringement suits and sued product
manufacturer for contractual indemnity); Deutsche Bank, 43 A.D.3d at 57–60 (agent for collective
of lenders sued the majority controller of the collective for contractual indemnity); AIU Ins. Co.,
2008 WL 5062030, at *1–2 (insurer brought breach of contract action against its reinsurer for
failure to indemnify the cost of settling insured’s personal injury lawsuits); Bovis Lend Lease, 2002
WL 31729693, at *16 (insurer brought contribution claim for 50% of settlement and associated
costs against co-insurer). Hence, the only questions in each case were (i) the indemnitee’s good
faith in settling,4 and (ii) the overall reasonableness of the settlement quantum. Both of these
questions, the courts held, could be adequately evaluated without reference to privileged
communications, and the courts found that there had been no waiver.

         Here, by contrast, the causal connection between Mr. Staley (on one hand) and JPMorgan’s
liability to the victims of Jeffrey Epstein (on the other) is very much in dispute. The bank’s
relationship with (and failure to address) Epstein arose wholly independently of Mr. Staley (who
joined JPMorgan’s private bank after Epstein was already a client). JPMorgan would have
facilitated (and did facilitate) certain of Epstein’s transactions whether or not Mr. Staley ever

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   Universal Standard Inc. v. Target Corp., 331 F.R.D. 80, 86 (S.D.N.Y. 2019) (party asserting
privilege bears burden to show privilege applies).
4
  “Good faith” in settling and “motive for settling” are not synonymous. Indeed, two of the bank’s
cited cases recognized that “good faith” was proven only by establishing the “objective
reasonableness” of the settlement. AngioDynamics, Inc., 2010 WL 11541926, at *7 (citing
Deutsche Bank, 43 A.D.3d at 67 n.9).
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worked for the bank. Nor was Mr. Staley the only JPMorgan employee with access to negative
information on Epstein: as the Court has observed, “JP Morgan either knew or should have known
that Jeffrey Epstein operated a sex-trafficking venture perhaps as early as 2002,” simply because
of suspicious transaction activity—which activity Mr. Staley is not alleged to have known about.
Dkt. 171 at 6.

         For this reason, it is more than plausible that the bank chose to settle with the Jane Doe
class because it saw that its own negligence, and not any alleged misconduct by Mr. Staley, could
give rise to substantial liability and other consequences. But only its internal communications will
show what its motive was. If, as the bank asserts, it was motivated to settle because of Mr. Staley’s
conduct, then its communications with counsel ought to confirm that fact. Regardless, the bank
should not be permitted to argue to the factfinder that Mr. Staley’s conduct alone caused the bank
to enter into the settlement agreement without permitting Mr. Staley to probe the basis for that
assertion, which necessarily includes the bank’s communications with its counsel that the bank has
put at issue. Neither Mr. Staley nor the factfinder should be forced to take the bank at its word as
to its motivations for settling and the reasonableness of its settlement.

                                      *      *       *       *

       For the foregoing reasons, JPMorgan should produce all communications between itself
and its in-house and outside counsel as well as attorney work-product relating to the
reasonableness and causation of the settlement.

                                                         Respectfully submitted,

                                                         /s/ Stephen L. Wohlgemuth

                                                         Stephen L. Wohlgemuth
